Case 2:12-md-02327 Document 4820-1 Filed 10/20/17 Page 1 of 2 PageID #: 155506




                 EXHIBIT A
   Case 2:12-md-02327 Document 4820-1 Filed 10/20/17 Page 2 of 2 PageID #: 155507
                                       IAKOVLEV EXHIBIT A

          Case Name           Case Number
Baylish, Linda           2:13cv00490
Beckley, Geraldine       2:12cv09257
Block, Jan Leigh         2:13cv00495
Brucker, Terri           2:13cv01026
Cawthon, Jean            2:12cv09615
DeFriece, Brenda         2:12cv09263
Douglas, Peggy           2:13cv01753
Erskine, Monda           2:12cv09686
Finnegan, Crystal Lynn   2:13cv00059
Garcia, Maria            2:12cv09244
Goulette, Laurine        2:13cv01776
Green, Sandra            2:13cv00843
Grizzle‐Hagans, Angela   2:13cv01954
Hoffmann, Joyce          2:13cv01284
Jenkins, Bernice         2:13cv00706
Lancaster, Christine     2:13cv01271
Leicester, Jennifer      2:13cv01040
McDaniel, Vickie         2:13cv01267
Meade, Deborah           2:13cv01744
Mullins, Rosalee         2:13cv01642
Murray‐Hockey, Barbara   2:12cv08548
Oliveira, Lervon         2:12cv09062
Owens, Barbara           2:13cv01206
Paretti, Bonnie Jean     2:13cv00821
Patterson, Kaye          2:12cv08315
Rihm, Nancy              2:13cv00286
Ruberti, Debra           2:13cv01463
Shaw, Teddy              2:12cv09774
Shoe, Ann                2:12cv09269
Statham, Mary            2:13cv00661
Stevens, Carma           2:13cv01210
Sylvester, Tracie        2:12cv09047
Thorne, Mary Nell        2:13cv01269
Wilson, Theresa          2:13cv00823
Wininger, Kathleen       2:13cv00284
Zember, Cynthia          2:12cv08211
